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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION
                                                                                  FEB 1 6 2018
                                                                             Clerk, U S District Court
                                                                               Districi Ot Montana
                                                                                      Biiiings
  MARILYN MARCHINEK,
                                                     CV 17-70-BLG-SPW
                         Plaintiff,

  vs.                                                 ORDER ADOPTING
                                                      MAGISTRATE'S FINDINGS
  SAFECO INSURANCE COMPANY                            AND RECOMMENDATIONS
  OF AMERICA,

                         Defendant.

         Before the Court are United States Magistrate Judge Timothy Cavan's

Findings and Recommendations filed on January 26, 2018. (Doc. 32). Judge

Cavan recommends that this Court grant in part and deny in part Safeco' s motion

for summary judgment. (Doc. 19).

         Pursuant to 28 U.S.C. § 636(b)(l), the parties were required to file written

objections within 14 days of the filing of Judge Cavan's Findings and

Recommendations. No objections were filed. When neither party objects, this

Court reviews Judge Cavan's Findings and Recommendations for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981 ). Clear error exists if the Court is left with a "definite and firm

conviction that a mistake has been committed." United States v. Syrax, 235 F.3d



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422, 427 (9th Cir. 2000). After reviewing the Findings and Recommendations, this

Court does not find that Judge Cavan committed clear error.

      IT IS ORDERED that the proposed Findings and Recommendations entered

by United States Magistrate Judge Cavan (Doc. 32) are ADOPTED IN FULL.

      IT IS FURTHER ORDERED that Safeco's motion for summary judgment

(Doc. 19) is granted with respect to count 1 of the complaint (Doc. 15). Count 1 is

dismissed without prejudice.

      IT IS FURTHER ORDERED that Safeco's motion for summary judgment

(Doc. 19) is denied with respect to count 2 of the complaint (Doc. 15).

      IT IS FUTHER ORDERED that the case is stayed pending resolution of the

appraisal process.
                   ~
      DATED this /~ day of February, 2018.



                                          ~r7-J~
                                             SUSANP. WATTERS
                                             United States District Judge




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